                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


                                                  )     Case No. 3:23-md-3071
                                                  )     MDL No. 3071
IN RE: REALPAGE, INC., RENTAL
                                                  )
SOFTWARE ANTITRUST
                                                  )     This Document Relates to: ALL CASES
LITIGATION (NO. II)
                                                  )
                                                  )

                                               ORDER

       The Court held an initial status conference on May 31, 2023, and for the reasons stated on

the record, the Court rules as follows:

         1.    The parties previously confirmed that there are no challenges to venue, (Doc.

 No. 187 at 4), and did so again at the status conference. By June 7, 2023, Jay Srinivasan,

 Esq., shall report on whether any Defendant contests subject-matter or personal jurisdiction.

         2.    On or before June 7, 2023, Mr. Srinivasan shall also report on whether all

 counsel for each Defendant will accept service of process on behalf of their respective

 Defendant and, if not, why not.

         3.    All cases that have been transferred or conditionally transferred to this District by

 the Judicial Panel on Multidistrict Litigation (“JPML”) or otherwise subject to the JPML’s

 orders (collectively, the “Centralized Actions”) are consolidated for pretrial purposes. This

 includes cases filed in this District, specifically,

         •    Alexander v. The Irvine Company, LLC et al., No. 3:23-cv-00440 (M.D. Tenn.)

         •    Blosser v. RealPage, Inc. et al., No. 3:23-cv-00445 (M.D. Tenn.)

         •    Kempton et al. v. RealPage, Inc., et al., No. 3:23-cv-00419 (M.D. Tenn.)

         •    Goldman v RealPage, Inc., No. 3:23-cv-00552 (M.D. Tenn.)



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 Any “tag along” action later filed in, removed to, or transferred to this Court, or any related

 cases filed in this District, will be assigned to the undersigned and consolidated with the

 Centralized Actions without further action. This consolidation does not constitute a

 determination that these actions will be consolidated for trial or that a class should be

 certified, nor does it have the effect of making any entity a party to any action in which it has

 not been named, served, or added in accordance with the Federal Rules of Civil Procedure.

 The Court reserves consideration of consolidation for trial purposes.

         4.   On or before June 7, 2023, Mr. Srinivasan shall report on the number of

 proposed class Plaintiffs that are subject to arbitration agreements or class action or jury trial

 waivers and he shall specifically report on each named Plaintiff/Class Representative in each

 of the Centralized Actions.

         5.   Upon further consideration, the Initial Case Management Conference will

 convene at 9:00 a.m. on August 7, 2023, instead of 1:00 p.m. as stated by the Court.

         5.   All orders in this action apply to all Centralized Actions unless the Court directs

 otherwise. This Order, the Court’s previous Orders (Doc. Nos. 2 and 3), and any orders

 hereafter filed on the In re: RealPage, Inc., Rental Software Antitrust Litigation (No. II)

 docket will apply to related cases later filed in, removed to, or transferred to this Court. Upon

 transfer to this Court, all preexisting deadlines and orders issued by transferor courts are

 vacated.

       6.     Plaintiffs shall file two Consolidated Amended Complaints – a “Multifamily

Rental Plaintiffs” and a separate “Student Rental Plaintiffs” on or before June 16, 2023. After

the filing of the Consolidated Amended Complaints, the Defendants shall, by noon Central

Standard Time on June 21, 2023, file a notice of the nature and number of anticipated motions



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with sufficient description to inform the Court and to justify the proposed motions. Similarly, by

noon Central Standard Time on July 11, 2023, the Plaintiffs shall file a notice of the nature and

number of anticipated responses with sufficient description to inform the Court and to justify the

proposed responses. Defendants shall answer or otherwise respond to the Consolidated Amended

Complaints applicable to that Defendant on or before July 7, 2023; Plaintiffs’ response is due on

July 24, 2023 and any reply is due on July 31, 2023. The Local Rules apply to any motion filed

by any party.

        7.      Before the in-person Case Management Conference on August 7, 2023, the

parties shall meet and confer in-person to develop a proposed scheduling order, which shall be

filed no later than July 24, 2023. As explained by the Court, the proposed scheduling order shall

provide deadlines for case progression through disclosure of expert witnesses and include staging

of discovery, such as for written discovery, depositions, class and merit discovery. The parties

shall include as part of the proposed scheduling order a schedule for periodic status conferences,

through December 2024, with specific dates and times that are consistently scheduled (for

example, every 60 or 90 days) to the extent possible. The Court will also need status reports

filed at least 7 days before any status conference. Consolidation among similarly situated parties

is encouraged. The parties for the cases filed in the Middle District shall propose a target trial

date.

        8.      Defendants shall and Plaintiffs may provide a list of acceptable and available

mediators ranked in order of preferences, on or before July 25, 2023. To the extent possible, the

parties may file a joint list of acceptable mediators.

        9.      Applications for Lead Counsel, Interim Class Counsel and/or Plaintiffs’ Steering

Committee as well as Plaintiffs’ and Defendants’ Liaison Counsel shall be filed on or before



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June 6, 2023. Any objections shall be filed by noon on June 8, 2023. The Court reserves

consideration of separate leadership counsel for the Student Rental case. Accordingly, Plaintiffs’

motion (Doc. No. 82) is GRANTED IN PART. The Court previously shared the main criteria

for these appointments are (1) demonstrated ability to work cooperatively, professionally and

respectfully with others; (2) professional experience in this type of litigation; (3) willingness and

ability to commit to a time-consuming process; and (4) access to sufficient resources to advance

the litigation in a timely manner. The Court may interview applicants, as necessary.

       10.     Sam Funk, Esq., shall report on or before July 24, 2023, on those Defendants who

are in 3 or fewer cases and either desire mediation or encourage the Court to require early

mediation.

       IT IS SO ORDERED.


                                              ____________________________________
                                              WAVERLY D. CRENSHAW, JR.
                                              CHIEF UNITED STATES DISTRICT JUDGE




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